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                             Exhibit 2




DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 12
      Case 2:18-cv-00112-JCC Document 15-2 Filed 04/04/18 Page 2 of 4




     State a/Washington
     Secretary of State
     CORPORATIONS DIVISION
     James M. Dolliver Building
     801 Capitol Way South
     POBox 40234
     Olympia WA 98504-0234
     360.725.0377
                                              Initial Report



        Application ID 4039724
       Associated App 4039718
                   ID
          Entity Name CSI VISA PROCESSING USA, LLC
          UBI Number
          Corporation Limited Liability Company
                Type


          Tracking ID 3406000
         Validation ID 3351288-002
       Date Submitted 1/912017
             for Filing
       Filing Due Date
               State of WA
         Incorporation
        Inc.lQual Date 111012017


             Nature of CSI Visa Processing USA will engage in assisting entities in the processing ofH2
              Business agriculture visa non immigrant workers.


                                         Contact Information
        Contact Name Roxana Macias Martinez
      Contact Address 1610 Pacific Ridge Drive SE
                      Olympia
                      WA
                      98516




                                                                                             PLS 000142
DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 13
      Case 2:18-cv-00112-JCC Document 15-2 Filed 04/04/18 Page 3 of 4




     Contact Email       rmacias. csi@gmail.com
       Contact Phone 618-101-3794


                                   Registered Agent Information
       Agent is Entity
         Agent Name CSI Visa Processing USA, LLC
         Agent Street 1610 Pacific Ridge Drive SE
            Address Olympia
                      WA
                      98516



       Agent Mailing Same as Street Address
            Address


         Agent Email
            Address


                                           Place of Business
     Place of Business Yes
               is in US
       Street Address 1610 Pacific Ridge Drive SE
                      Olympia
                      WA
                      98516




                                          Member/Manager
          Member #1 Name Jose Guillermo Mathus
                         Fonseca
                               Cima 516
                               Tres Misiones
                               Durango
                               Mexico
                               34209




                                                                   PLS 000143
DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 14
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     Member #2       Name Tania De la Fuente
                          Vera
                           Daniel Zambrano 516
                           Col Chepevera
                           Monterrey
                           Mexico
                           64030


                                     Execution Information
         Executed By Roxana Macias




                                                                   PLS 000144
DECLARATION OF JOACHIM MORRISON IN SUPPORT OF
PLAINTIFFS’ MOTION TO SERVE DEFENDANT CSI
VISA PROCESSING S.C. PURSUANT TO RULE 4(f)(3) - 15
